                       Case 1:08-cr-00236-MHT-CWB Document 373 Filed 09/24/09(NOTE:
  A0 245C (Rev. 06/05) Amended Judgment in a Criminal Case
                                                                                Page     1 of 6
                                                                                    Identify Changes with Asterisks (*))
            Sheet 1


                                            UNITED STATES DISTRICT COURT
                           MIDDLE                                        District of                                  ALABAMA
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                      V.
                                                                                   Case Number:                    1 :08cr236-1 1-MHT
                ISAIAH NAKU FLUELLEN                                                                                  (WO)
                                                                                   USM Number:                     12607-002
Date of Original Judgment: 8/17/2009                                               Cleophus Gaines, Jr.
(Or Date of Last Amended Judgment)                                                 Defendant's Attorney
Reason for Amendment:
E Correction of Sentence on Remand (18 U.S.C. 3742(0(1) and (2))                   LI Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
[Ii Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 C] Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
LI Correction of Sentence by Sentencing Court (Fed. R. Cnm. P. 3 5(a))             C] Modification of Imposed Term of lmprisomnent for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   C] Direct Motion to District Court Pursuant C] 28 U.S.C. § 2255 or
                                                                                       C] 18 U.S.C. § 3559(c)(7)
                                                                                   C] Modification of Restitution Order(18 U.S.C. § 3664)

THE DEFENDANT:
X pleaded guilty to count(s) is and 2s of the Superseding Indictment on April 27, 2009
C] pleaded nob contendere to count(s) ______________________________________________________________________________________
    which was accepted by the court.
C] was found guilty on count(s) ____________________________________________________________________________________
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                               Offense Ended                  Count
21 USC 846                          Conspiracy to Possess with Intent to Distribute Cocaine                        11/21/2008                        Is
                                     Hydrochloride, Cocaine Base, and Marijuana
21 USC 841(a)(1) and                Possession with Intent to Distribute Cocaine Hydrochloride                     11/21/2008                        2s
*18 USC 2                           *Aiding and Abetting

       The defendant is sentenced as provided in pages 2                       6              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
C] The defendant has been found not guilty on count(s) _________________________________________________________________
X Count(s) 1 and 2 of the Original Indictment C] is x are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   August 6, 2009
                                                                                   Date of Imposition of Judgment


                                                                                   Signature of Judge
                                                                                   MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                                   Name and Title of Judge

                                                                                   Date
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AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 2 - Imprisonment                                                                           (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment - Page       2       of          6
DEFENDANT:      ISAIAH NAKU FLUELLEN
CASE NUMBER: 1 :08cr236-1 1 -MHT

                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term

30 Months. This sentence consists of terms of 30 months on each count to be served concurrently.



X The court makes the following recommendations to the Bureau of Prisons:
   The court recommends that the defendant be designated to a facility where intensive drug treatment is available.
   The court recommends that the defendant be designated to a facility where vocational training is available.
   The court recommends that the defendant be designated to a facility where he may work towards completing the
   requirements for his G.E.D.

X The defendant is remanded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:
     LI    at _____________________ LI a.m.                     LI p.m.         on
     LI as notified by the United States Marshal.

LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

     LI before 2 p.m. on

     LI as notified by the United States Marshal.

     LI as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
I have executed this judgment as follows:




    Defendant delivered on                                                             to

a                                                      with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                         By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                 Case 1:08-cr-00236-MHT-CWB Document 373 Filed 09/24/09 Page 3 of 6
AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 3    Supervised Release                                                                 (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment—Page        3      of         6
DEFENDANT:                ISAIAH NAKU FLUELLEN
CASE NUMBER:              1 :08cr236-1 I -MHT
                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of
3 Years. This term consists of 3 years on each count, all such terms to run concurrently.



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisomnent and at least two periodic drug tests
thereafter, as determined by the court.
  J The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
LI The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
     student, as directed by the probation officer. (Check, if applicable.)
LI The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule ot Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                     STANDARD CONDITIONS OF SUPERVISION
  1) the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
     each month;
  3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)   the defendant shall support his or her dependents and meet other family responsibilities;
  5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
  6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
    any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court; and
13) as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
    record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
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A0 245C   (Rev. 06/05) Amended Judgment in a Criminal Case
          Sheet 3C - Supervised Release                                                      (NOTE: Identify Changes with Astthsks (*))
                                                                                           Judgment—Page       4      of        6
DEFENDANT:               ISAIAH NAKU FLUELLEN
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                                      SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall participate in a program approved by the United States Probation Office for substance abuse, which
may include testing to determine whether he has reverted to the use of drugs. The defendant shall contribute to the cost of
any treatment based on ability to pay and the availability of third-party payments.
2. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
court.
3. The defendant shall work towards completing the requirements for his G.E.D.
4. The defendant shall participate in a vocational training program as approved by the probation officer. The defendant
shall contribute to the cost of any such program based on ability to pay and the availability of third-party payments.
5. The defendant shall have a mental health evaluation and mental health counseling as approved by his probation officer.
The defendant shall contribute to the cost of such evaluation and counseling based on his ability to pay and the availability
of third party payments.
                 Case 1:08-cr-00236-MHT-CWB Document 373 Filed 09/24/09 Page 5 of 6
AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 5 Criminal Monetary Penalties                                                              (NOTE: Identify Changes with Asterisks (*))
                                                                                                    Judgment - Page       5      of            6
DEFENDANT:                       ISAIAH NAKU FLUELLEN
CASE NUMBER:                     1 :08cr236-1 1-MHT
                                           CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                        Fine                                 Restitution
TOTALS           $ 200.00                                        $                                      $


LI The determination of restitution is deferred until                An Amended Judgment in a Criminal Case (AO 245 C) will be
     entered after such determination.

Li The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                               Total Loss*                           Restitution Ordered                  Priority or Percentage




TOTALS                             $                                          $


Li Restitution amount ordered pursuant to plea agreement $

LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S .C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

LI The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     fl the interest requirement is waived for LI fine               LI restitution.

     LI the interest requirement for the LI fine              LI restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 6 - Schedule of Payments                                                                (NOTE: ldentii, Changes with Asterisks (*))
                                                                                                       Judgment - Page        6      of         6
DEFENDANT:                  ISAIAH NAKU FLUELLEN
CASE NUMBER:                1 :08cr236-1 1-MHT

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A X Lump sum payment of $ 200.00                                due immediately, balance due

           LI not later than _________________________ , or
           x in accordance with Li C, LI D, Li E, or x F below; or
B Li Payment to begin immediately (may be combined with                      C,      Li D, or Li F below); or

C Li Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ___________ over a period of
          ___________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after the date of this judgment; or
D Li Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ___________ over a period of
    ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
     term of supervision; or
E fl Payment during the term of supervised release will commence within __________ (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F X Special instructions regarding the payment of criminal monetary penalties:
           All criminal monetary penalty payments shall be made to the Clerk, United States District Court, Middle District of Alabama,
           Post Office Box 711, Montgomery, Alabama 36101.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




Li Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




Li The defendant shall pay the cost of prosecution.

Li The defendant shall pay the following court cost(s):

Li The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, mcluding cost of prosecution and court costs.
